Case 1:13-cr-00244-PLM           ECF No. 131, PageID.435           Filed 11/14/14      Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:13-cr-00244-PLM-3
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
NICKEY JOE DUPREST,                 )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 14, 2014, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Nickey Joe Duprest entered a plea of guilty to Counts 1 & 2 of the Third

Superseding Indictment in exchange for the undertakings made by the government in the written

plea agreement. In Count 1 defendant is charged with a drug conspiracy, in violation of 21 U.S.C.

Sections 846, 841(a)(1), 841(b)(1)(A)(ii), and 841(b)(1)(D), and in Count 2 he is charged with a

money laundering conspiracy, in violation of 18 U.S.C. Sections 1956(h), 1956(a)(1), and 1956(c).

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of

the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.
Case 1:13-cr-00244-PLM           ECF No. 131, PageID.436           Filed 11/14/14      Page 2 of 2




               Accordingly, I recommend that defendant's plea of guilty to Counts 1 & 2 of the

Third Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.



Date: November 14, 2014                                /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                                -2-
